USDC IN/ND case 3:10-cr-00116-RLM-CAN       document 48   filed 01/03/11   page 1 of 1


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 UNITED STATES OF AMERICA               )
                                        )
             vs.                        )          No. 3:10-CR-116(02) RM
                                        )
 ALEJANDRO CASTILLO                     )


                                    ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on December 8, 2010 [Doc. No. 46].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Alejandro Castillo’s plea of guilty, and FINDS the defendant

 guilty of Count 2 of the superceding indictment, in violation of 21 U.S.C. §

 841(a)(1) and 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED:     January 3, 2011




                                        /s/ Robert L. Miller, Jr.
                                      Judge
                                      United States District Court
